                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:08-cv-00540-MOC-DSC

 LUANNA SCOTT, et al.,                                     )
                                                           )
                        Plaintiffs,                        )
                                                           )
 Vs.                                                       )      ORDER OF PRELIMINARY
                                                           )     APPROVAL OF SETTLEMENT
                                                           )           AGREEMENT
                                                           )
 FAMILY DOLLAR STORES, INC.,                               )
                                                           )
                       Defendant.                          )


        THIS MATTER is before the court on plaintiffs’ Motion for Preliminary Approval of

Settlement Agreement (#322). Defendant’s assent to such motion is found in the supporting

Memorandum of Law (#323). Having considered plaintiffs’ motion and reviewed the pleadings,

the court enters the following findings, conclusion, and Order granting preliminary approval and

setting the matter for a final fairness hearing not less than 90 days hence

                               FINDINGS AND CONCLUSIONS

        Currently before the Court is plaintiffs' Consent Motion for Preliminary Approval of

Settlement Agreement. Having considered the Motion, including the Joint Stipulation of Class

Action Settlement and Release ("Settlement Agreement" or "Settlement"), Notice of Class Action

Settlement ("Class Notice" or "Notice"), and related materials, as well as the periodic joint status

reports filed by the Parties and based on the Court's long-standing knowledge and familiarity with

this case, and good cause appearing,




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       IT IS THEREFORE ORDERED that plaintiffs’ Motion for Preliminary Approval of

Settlement Agreement (#322) is GRANTED, as follows:

       1.      The Court preliminarily approves the Settlement Agreement (which is hereby

incorporated by reference) as being sufficiently fair, reasonable, and adequate, and in the best

interests of the parties and in accordance with law, subject to the right of any class member to

challenge the fairness, reasonableness or adequacy of the Settlement Agreement and to show cause

why a final judgment dismissing this case with prejudice should not be entered following a fairness

hearing. Specifically, it appears to the Court, on a preliminary basis, that the

       Settlement is fair and reasonable to Class Members when balanced against the probable

outcome of further litigation, liability and damages issues, and the potential appeal of any rulings.

It further appears that the settlement terms, including but not limited to the monetary terms and

non-monetary terms as set forth in the Settlement Agreement, confer substantial benefits upon the

Class, particularly in light of the damages that Plaintiffs and their counsel believe are potentially

recoverable or provable at trial, without the costs, uncertainties, delays, and other risks associated

with continued litigation, trial, and/or appeal. It also appears that the proposed Settlement has been

reached as the result of intensive, informed, and non-collusive negotiations between the Parties,

including arms'-length negotiations that occurred over a two-day, in-person mediation session

with an experienced class action mediator (Mark S. Rudy) that ultimately led to the Parties'

acceptance of a mediator's proposal. Based on the Court's review of the papers submitted in support

of preliminary approval, and the Court's familiarity with the issues in the case, the Court concludes

that the proposed Settlement Agreement has no obvious defects and is within the range of possible

settlements appropriate for approval such that notice to the Class is appropriate.



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       2.      The rights of any potential dissenters to the proposed Settlement are adequately

protected in that they may exclude themselves from the Settlement and proceed with any alleged

claims they may have against Family Dollar, or they may object to the Settlement and appear

before this Court. However, to do so they must follow the procedures outlined in the Settlement

Agreement and Class Notice.       Failure to follow the procedures outlined in the Settlement

Agreement and Class Notice for making objections shall result in waiver and the objector shall be

forever foreclosed from challenging any of the terms of the Settlement.

       3.     The Court approves the proposed form of Notice of Settlement attached as Exhibit

B to the Plaintiffs' Consent Motion. The Notice fairly, plainly, accurately, and reasonably informs

Class Members of, and allows Class Members a full and fair opportunity to consider, among other

things: (1) the nature of the action; (2) the identities of Class Counsel and the Class

Representatives; (3) the terms and provisions of the proposed Settlement; (4) the relief to which

the members of each class will be entitled, including summaries of the programmatic relief and

the method for calculating payments; (5) the process by which Class Members will receive

Individual Settlement Payments if the settlement is approved; (6) how administrative costs and

potential attorneys' fees and service payments will be handled; (7) the procedures and deadlines

for submitting objections and/or requests for exclusion; and (8) the date, time, and place of the

Final Approval Hearing.

       Accordingly, the Court directs the parties to have the Settlement Administrator mail the

Notice document to the class members in accordance with the terms of the Settlement Agreement.




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                      4.     The Court appoints the settlement administration firm of Settlement Services, Inc./

              Garden City Group, Inc. as the Settlement Administrator to perform the duties set forth in the

              Settlement Agreement.

                      5.     All proceedings in the case remain STAYED until further Order of this Court,

              except as may be necessary to implement the Settlement Agreement.

                      6.     The Court approves the schedule of events and procedures as set forth in the

              Settlement Agreement for completing the final approval process.

                      7.     Based on the Court's review of the parties' Joint Motion, the Court hereby schedules

              a Final Approval Hearing for 9:30 a.m., on March 14, 2018, at the United States Courthouse,

              401 West Trade Street, Charlotte, NC 28202, to determine whether the settlement of the Action

              pursuant to the terms and conditions of the Settlement Agreement should be finally approved as

              fair, reasonable, and adequate pursuant to Fed. R. Civ. P. 23(e). The Court will also rule on Class

              Counsel's application for an award of attorneys' fees, costs, and expenses and service awards for

              Named Plaintiffs and Class Representatives (the "Fee and Service Application") at that time.

                      8.     The Court expressly reserves the right to continue or adjourn the final approval

              hearing from time-to-time without further notice to the Class Members.



Signed: November 14, 2017




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